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                            TINITED STATES DISTRICT COURT
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                            NORTHERN DISTRICT OF ILLINOIS                                      .!Apl 10   2017
                                   EASTERN DIVISION                                             t-[o-l?
                                                                                         THOI,IAS G. BRUTON
                                                                                       CLERT(, U.S. DISTRICT COURT
FEDERAL TRADE COMMIS SION,
                                                            Case No.
                       Plaintiff,

                v.
                                                                17-cv{0194
                                                                Judge Matthew F. Kennelly
CREDIT BUREAU CENTER, LLC, Et AI.,                              Magistrate Judge Maria Valdez
                       Defendants.



            DECLARATION AND CERTIFICATION OF PLAINTIFF'S COUNSEL
             PURSUANT TO FED. R. CIV. P. 6s(b) AND LOCAL RULE s.s(d) IN
           SUPPORT OF PLAINTIFF'S EX PARTE MOTION FOR A TEMPORARY
           RESTRAINING ORDER AND MOTION TO TEMPORARILY SEAL FILE

I, Guy G. Ward, hereby declare      as   follows:

           1.   I am an attorney employed by Plaintiff,     Federal Trade Commission ("FTC" or

"Commission"). I am representing the FTC in this matter. My business address is 55 West

Monroe Street, Suite 1825, Chicago, Illinois 60603. The following facts are known to me either

personally or upon information and belief, and      if called   as a witness   I could competentiy testify

thereto.

           2.   Plaintiff has not attempted to notiff Defendants of the FTC's Ex Parte Motion for

a Temporary Restraining Order       With Asset Freeze, Appointment of          a Receiver, Other Equitable


Relief, and Order to Show Cause Why a Preliminary Injunction Should Not Issue ("TRO

Motion"), nor should such notice be given, for the following reasons.

           3.   The evidence set forth in Plaintiffs Memorandum in Support of its TRO Motion,

and accompanyrng exhibits, filed concurrently herewith, which I have personally reviewed,
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shows that the four Defendants-a limited     liability company, its owner, and two affiliate

marketers-have for at least the last three years engaged, and are likely to continue to engage, in

a   nationwide scheme causing millions of dollars in consumer injury.

         4.      Defendants' scheme involves several steps. They target consumers seeking

housing by posting fake advertisements for rental properties on Craigslist and posing as

landlords when consumers respond. In emails to consumers, Defendants falsely claim to be

currently offering the properties for rent, and promise consumers tours of the properties if they

will first ciick on a hyperlink to get their credit reports. In this way, Defendants lure consumers

to specially designed websites promising consumers "free" credit reports and scores if consumers

will   enter their Social Security numbers, birthdates, account numbers and other personal

information. By entering this information, however, consumers are deceptively enrolled in          a


separate credit monitoring service with recurring charges. Many consumers are charged for the

credit monitoring service without their knowledge or consent until they notice the charges on

their account statements, sometimes after several billing cycles, and attempt to stop them.

Additionally, after obtaining their credit reports   as instructed, and   emailing the purported

landlord to arrange the property tour, consumers get no response. Consumers never get the

promised tours because Defendants have no properties to show or rent to anyone.

         5.      Defendants' ongoing conduct violates multiple consumer protection laws,

including Section 5(a) of the Federal Trade Commission Act, 15 U.S.C. $ 45(a), Section 4 of the

Restore Online Shoppers' Confidence Act, 15 U.S.C. $ 8403, Section 612(g)0) of the Fair

Credit Reporting Act, 15 U.S.C. $ 1681j(g)(1), and the Free Annual File Disclosures Rule, 12

c.F.R. $ 1022.138.
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       6.        Defendants attempt to evade responsibility for their conduct by using myriad

fictitious names, Internet domains, email accounts, and mail drops, and using different versions

of their weasites, one consisting of the deceptive webpages linked to the fake landlord emails,

and the other consisting of cleaned-up versions for     pubiic display. Defendants have continued

their deceptive practices for years despite a flood of consumer complaints and repeated

cancellations of their merchant accounts for excessive chargebacks.

       7.        In the FTC's experience, defendants engaged in similar conduct have withdrawn

funds from bank accounts and moved or destroyed inculpatory documents when given notice of

the FTC's   action. lndeed.      such behavior seems probable in this case given the pervasive,

systanatic nature of Defendants' fraud, the personal responsibility of the individuals for that

fraud, and the steps they have taken to evade detection. Without an ex parte asset freeze, funds

may not be available to satisff a final order granting restitution to defrauded consumers.

                 The following examples, provided upon information and belief, iilustrate the

FTC's experiance that defendants who receive notice of the FTC's intent to file or filing of an

action alleging consumer fraud have immediately taken steps to dissipate or conceal assets,

and/or destroy documents     :




                          lnFTCv. E.M.A. Nationwide,Inc.,      et al., No. 1:12-cv-02394 (N.D. Ohio

2012), the FTC moved for a TRO and corporate asset freeze and the defendants were given

notice. Within   a   week of obtaining notice the defendants had withdrawn more than $152,000

from a corporate bank account.

                 b.       In FTC v. Prime Legal Plans, No. 12-61872 (S.D. FLa.2012), the FTC

obtained an ex parte TRO with asset freeze and appointment of a receiver. Within hours        of
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learning of the action, the defendants moved approximately $2 million to bank accounts

belonging to several non-party individuals, at least $200,000 of which was never recovered.

               c.      In FTC v. Asia Pacific Telecom, Inc. et a/., No. 10-cv-3168 (N.D. Ill.

2010) (Hart, J.), the FTC obtained an ex parle TRO freezing the defendants' assets and

prohibiting thern from destroying documents. After being served with the TRO, one of the

individual defendants, Hans Smit, deleted an email account used to conduct many of the illegal

practices at issue in the FTC's complaint. Smit took this step despite being served with a

discovery request by the FTC for documents in the account and despite multiple demands from

the court-appointed receiver for access to the account. The court ultimately held Smit in

contempt for deleting the account in violation of the TRO.

               d.      In FTC v. Fereidoun "Fred" Khalilian et al., No. 10-21788 (S.D. Fla.

2010), the FTC obtained an ex parte TRO freezing the assets of defendants operating a

telemarketing scam. After being served with the TRO, one of the defendants, Fred Khalilian,

directed his anployee to withdraw $71,000 in cash from a frozen corporate account. While

conducting an asset deposition, the court-appointed receiver learned that individuals were using a

rented truck to remove tens of thousands of dollars' worth of furniture and other valuables from a

luxury apartment occupied by Khalilian and paid for with proceeds of the scam. The receiver

immediately ended the deposition and, with the assistance of law enforcement, prevented

Kfralilian's associates from absconding with the property.

               e.      ln FTC v. Transcontinental Warranty, Inc., et a/., No. 09-cv-2927 (N.D.

Ill. 2009) (Grady, J.), the FTC did not   seek ex   parte relief or to have the file sealed. Although

the court granted the FTC's motion for a TRO freezing all of the defendants' assets and
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appointing   a   receiver over the corporate defendant, when the receiver and counsel for the FTC

arrived at the corporate defendant's premises pursuant to the Court order, hundreds of file folders

with labels indicating that they contained records of the defendants' most recent transactions

were found empty, five computers (inciuding that of the corporate defendant's CFO) were

allegedly stolen the night before the receiver and FTC arrived, and various third-party trade

debtors of the defendants froze payments due to the corporate defendant. These actions resulted

in extensive litigation involving the receiver and ultimately cost the receivership estate hundreds

of thousands of dollars.

                   f.     Tn   FTC v. Global Marketing Group, Inc., et a/., No. 06 CV 2272 (M.D.

Fla. 2006), the FTC obtained an ex parte TRO with an asset freeze and served the order on banks

where the defendants were known or suspected to have accounts. After being served with the

TRO, one defendant successfully withdrew over $500,000 from accounts previously unknown to

the   FTC. Most of these funds were wired to offshore bank accounts. The defendant was

ultimately held in contempt and fled the country after failing to appear at a show cause hearing.

                          In FTC v. Dennis Connelly, et al., SACV06-701 DOC (C.D. Cal. 2006),

the FTC requested an ex parte TRO and asset freeze against all defendants. The court declined

to issue an asset freeze against two of the three individual defendants and issued an order to

show cause why an asset freeze should not issue as to them. The defendant whose assets were

frozen and one of the other defendants then withdrew amounts totaling close to $750,000 from a

joint account within 24 hours.      The judge subsequently extended the asset freeze over all

defendants. Although some of the funds were recovered, more than $300,000 was not recovered.

                  h.      In FTC v. 4049705 Canada Inc., et a/., No. 04 C 4694 (N.D. Il1. 2004)
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(Kennelly, J.), Canadian authorities executed a search warrant on the business premises of

Canadian defendants. The FTC subsequently filed its complaint, and its motion for a temporary

restraining order with asset freeze, and provided notice to the defendants. The FTC subsequently

discovered only through its own investigation that the defendants had made several transfers

totaling approximately $70,000 after receiving notice of the FTC's action but before the asset

freeze was imposed. The FTC was unable to recover the $70,000. The individual defendant was

later held in contempt for transferring real estate in violation of the court-imposed asset freeze.

               i.          ln FTC v. National Consumer Council, et al., No. SACV04-0474 CIC

(C.D. Cal.2004), the FTC obtained an        ex   parte TRO with asset freeze and prohibition against

destruction of business records against all of the defendants, and the appointment of a temporary

receiver over all but one of the corporate defendants. One individual defendant deleted

electronic files on the defendants' shared network server by accessing his account through a

computer under the control of the corporate defendant not under the receivership. The files were

never recovered.

               j.          In FTC v. QT, Inc., et a/., No. 03 C 3578 (N.D. ru. 2003) (St. Eve, J.), the

FTC obtained at     ex   parte TPIO with asset freeze and when served with the TRO the defendants

immediately violated the Order by withdrawing and transferring substantial sums of money from

several bank accounts, totaling more than $2 million in one day.

               k.          ln FTC v. Bay Area Business Council, Inc., et al., No. 02 C 5762 (N.D. m.

2002) (Darrah, J.), as soon as the Court entered a final order for more than $12 million, the

defendants took advantage of the termination of a nearly two year old asset freeze and

immediately withdrew nearly all of their assets from their accounts before the FTC was able to
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obtain a turnover order.

               l.      In FTC v. Physicians Healthcare Development, Inc., et al., No. CV02-

2936 RMT (C.D. Cal. 2002), the FTC provided notice of filing at ex parte action to the

individual defendants. The Court issued a TRO with asset freezeand prohibition against

destruction of records, and the defendants were seryed with the TRO the same day. The next day

when FTC staff went to the defendants' offices to take control of the business records, they

found that business records, including computers, had been removed from the premises or

shredded. Witnesses advised FTC staffthat, on the day of the hearing on the TRO, they

observed defendants' employees removing computers and other items from the business

prernises. The records that were removed were never recovered.

               m.       In FTC v. SlqBiz.com, Inc., et al., No. 01-CV-396(K) (N.D. Okla. 2001),

within days of the service of the TRO with an asset freeze provision, one of the primary

defendants convinced an overseas trustee to withdraw $1,000,000 from the offshore account of a

foreign affiliate. Because a domestic correspondent bank had been served with the TRO, it

refused to transfer the funds. The money in the offshore account was preserved, and ultimately

used to provide $20   million for consumer   redress.

               n.       In FTC v. Intellicom Services, Inc., et a/., No. CY-97-4572TJH (C.D. Cal.

1997), the FTC obtained an ex parte TRO with an asset freeze, which    it then served on banks   at


which the defendants were known to have accounts. One defendant, whose bank was served

earlier in the day, called the bank and sought to wire approximately $100,000 from an account

that was specifically designated in the TRO as frozen. The branch manager encountered a red

flag in the system, discovered the account had been frozen, and refused to release the funds.
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               o.        In FTC v. United Consumer Services, et al., No. 94-CV-3i64-CAM (N.D.

Ga.1994), the FTC attempted to serve a TRO with asset freeze upon a defendant who was

traveling on business. When the defendant's lawyer notified his client of the order, the

defendant went directly to his bank and removed $100,000 from a corporate bank account. The

FTC learned of the withdrawal only after receiving the account statements from the bank. After

being served with an order to show cause why the defendant should not be held in contempt for

violating the asset freeze, the defendant finally produced the money at a deposition.

               p.        In FTC v. Academic Guidance Services, Inc., et a/., No. 92-3001 (AET)

(D. N.J. 1992), defendants discovered that the FTC intended to file a case against them (and seek

an ex parte TRO) the     following week. An informant told the FTC that the defendants then

leased a document shredder and spent the weekend destroying documents, a fact subsequently

confirmed by one of the defendants' employees.

               q.        ln FTC v. Applied Telemedia Engineering and Management, Inc., et al.,

No. 91-635 (S.D. Fla. 1991), the defendants were advised, pursuant to an agreement with the

FTC, that the FTC had filed its complaint and intended to seek a TRO with an asset freeze from

the court. When the FTC's agents went to the defendants' offices to serve process, they

observed defendants removing boxes of documents from the pranises. The FTC moved for, and

received, an ex parte TRO the following day.

       g.      As an additional consideration, reporters sometimes check district court filings for

matters of interest.   If the file in this matter is not sealed, the fact that the FTC has filed this suit

may therefore come to the attention of, and be published by the media, and Defendants may learn

of the issuance of the requested TRO before they have been served.
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        10.      In the FTC's past experience, new case filings also may come to the attention of         a


docket monitoring service. In FTC v. Wazzu Corp., et al., SACV99-762 AHS (Anx) (S.D. Cal.

1999), when FTC staff arrived at the defendants' business premises to serve the TRO, the

defendants said that they had previously learned from a monitoring service to which their

attorney subscribed that the FTC had filed a case against them. This was later confirmed by

speaking to the employee of the monitoring service who had discovered the FTC's lawsuit. The

monitoring service would not have learned of the FTC's action at the time of filing if that case

had been ternporarily sealed.

        I   1.   As discussed above, the risk that Defendants will conceal or dissipate assets or

destroy or conceal evidence if given notice of a TRO is exkerhely high. Accordingly, Plaintiff

respectfully submits that it is in the interest ofjustice and the public interest that the Plaintiff   s e;r


parte motion for a TRO be heard without notice to Defendants and that the file in this matter be

temporarily sealed.

        12.      Plaintiffhas not made   a   previous application for similar relief in this matter.

        I declare under penalty of perjury that the foregoing statement is true and correct.




Executed on January 10,2017
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